            Case 2:08-cr-00207-MJP       Document 162       Filed 03/27/09   Page 1 of 1



1                                                     Judge Marsha J. Pechman
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7
                                  UNITED STATES DISTRICT COURT
8                                WESTERN DISTRICT OF WASHINGTON
                                           AT SEATTLE
9
     UNITED STATES OF AMERICA,                )
10                                            )       NO.    CR08-207MJP
                            Plaintiff,        )
11                                            )
                            v.                )       ORDER TO SEAL
12                                            )
     RANDY HODGSON,                           )
13                                            )
                            Defendant.        )
14                                                )
15          Having read the Government’s Sentencing Memorandum in the above-captioned
16   case, which was filed under seal, be allowed to remain under seal,
17          It is hereby ORDERED that the Government’s Sentencing Memorandum in this
18   matter shall remain sealed.
19          DATED this 27th day of March, 2009.



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22                                            Marsha J. Pechman
                                              United States District Judge
23

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25   Presented by:
26
     s/ Brian Werner
27   BRIAN WERNER
     Assistant United States Attorney
28


     Order to Seal/Hodgson — 1
     CR08-207MJP
